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                        IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF IDAHO


UNITED STATES OF AMERICA,                 )
                                          )
      Plaintiff,                          )                 Case No. CR 05-266-S-BLW
                                          )
v.                                        )
                                          )                 ORDER
JOHN THURMAN HOREJS and ELAINE            )
SHERYL HOREJS,                            )
                                          )
      Defendants.                         )
__________________________________________)


       Defendants John Thurman Horejs and Elaine Sheryl Horejs (“Defendants”) have made an

informal request to the Court to stay the arraignment proceedings currently scheduled for

January 24, 2006. The United States Attorneys’ Office has no objection to the Defendants

appearing by telephone at the arraignment. In light of this non-objection, and considering the

winter weather and difficult travel conditions between Arizona and Idaho, the Court will allow

Defendants to appear at the arraignment by telephone, instead of in person. Accordingly, the

Court will telephone Defendants on January 24, 2006, shortly before 10:30 a.m. (Mountain

Standard Time) at (602) 493-3226. Defendants shall immediately notify the Court if they need

to be contacted at a different telephone number.

       Defendants also have filed a Motion to Dismiss. (Docket No. 6). Pursuant to District of

Idaho Local Civil Rule 7.1(c)(1) and Local Criminal Rule 1.1(f), Plaintiff United States of

America has twenty-one (21) days from the filing of Defendants’ Motion to submit a brief in
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response. Defendants filed their Motion to Dismiss on January 17, 2006 and, therefore, the

deadline for filing the response brief has not yet passed. Accordingly, Defendants’ Motion to

Dismiss will not be considered by Chief United States District Judge B. Lynn Winmill until all

of the briefs allowed by the local rules have been received by the Court.1

                                             ORDER

       IT IS HEREBY ORDERED that Defendants shall be available by telephone on January

24, 2006, at 10:30 a.m. (Mountain Standard Time) to participate in their arraignment. The Court

will contact Defendants shortly before 10:30 a.m. at the telephone number provided by

Defendants, (602) 493-3226. Defendants shall immediately notify the Court if they need to be

contacted at a different telephone number.

                                                     DATED: January 19, 2006.



                                                     Honorable Larry M. Boyle
                                                     Chief U. S. Magistrate Judge




       1
         For Defendants’ future reference, the Court’s Local Rules can be accessed on the
Court’s website at http://www.id.uscourts.gov.
